     Case 4:08-cr-00315-RSB-CLR Document 1412 Filed 11/19/12 Page 1 of 1


                                                           U.S. DSTRCT COURT
                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA         2012 NOV 19 AMIO:58
                            SAVANNAH DIVISION

UNITED STATES OF AMERICA                               CLER STh-T. OF GA.
V.                                           CASE NO, CR408-315

TRAVIAN SI-IONATE GREEN,

      Defendant.


                                 ORDER

      Before the Court is Defendant Travian Shonate Green's

Motion for Downward Departure to Include Sentence Modification.

(Doc. 1405.) In this motion, Defendant              asks     that the Court

reduce her sentence by twelve months based on her extraordinary

rehabilitative efforts. (Id. at 1, 3-4.) While the Court

commends Defendant on her efforts and successes, it lacks

jurisdiction to reduce her sentence absent either a motion by

the Director of the Bureau of Prisons pursuant to 18 U.S.C.

§ 3582(c) or a motion by the Government pursuant to Federal Rule

of Criminal Procedure 35. See United States v. Alvarez-

Mosquera, 2012 WL 3655912, at          *1 (11th Cir. Aug. 27, 2012)

(unpublished). Accordingly, Defendant's motion must be DENIED.

      SO ORDERED this      /7   day of November 2012.



                                   WILLIAM T. MOORE,
                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF GEORGIA
